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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA



                                               )
KELLY J. VAY                                   )     `
                                               )     Civil Action No._________________
                PLAINTIFF,                     )
       vs.                                     )
                                               )
                                               )
ALLEGHENY COUNTY of                            )
PENNSYLVANIA, WILLIAM MCKAIN,                  )
County Manager in his individual and           )
official capacity, KARL WILLIAMS,              )
Medical Examiner, in his individual and        )
                                               )
official capacity, ROBERT HUSTON,              )
Administrator, Laboratory Director of the      )
Office of the Medical Examiner of              )
Allegheny County, in his individual and        )
official capacity; STEPHEN PILARSKI,                 Jury Trial Demanded
former Administrator of the Office of the
Medical Examiner of Allegheny County and             Filed Electronically
currently Deputy Manager of Allegheny
County, in his individual and official
capacity, MICHAEL BAKER, former
Manager of Morgue Operations, in his
individual capacity.

                DEFENDANTS

                                          COMPLAINT

                                            Jurisdiction
       1.       The jurisdiction of this court is invoked pursuant to 28 U.S.C. §§ 1331 and
1343(a)(3) & (4), the First and Fourteenth Amendment of the Constitution of the United States
and 42 U.S.C. § 1983. Venue lies within this district pursuant to 28 U.S.C § 1391.


                                               Parties
       2.       Plaintiff Kelly J. Vay is an individual residing in Allegheny County,
Pennsylvania and is employed as a forensic investigator in the Office of the Medical Examiner
of Allegheny Count, Pennsylvania..
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       3.      Defendant Allegheny County of Pennsylvania is a municipal corporation whose
primary office is Allegheny County Courthouse 436 Grant Street located in Pittsburgh,
PA.15219.
       4.      Defendant William McKain is the County manager and policy maker whose
address is Allegheny County Courthouse, 436 Grant Street Room 119 Pittsburgh, PA.15219.
       5.      Dr Karl Williams is the Medical Examiner of Allegheny County and a policy
maker whose office is located at 1520 Penn Avenue, Pittsburgh, Pa 15219.


       6.      Defendant Robert Huston is an individual employed as the Administrator,
Laboratory Director in the Office of the Medical Examiner of Allegheny County who is a policy
maker and whose office is at 1520 Penn Avenue, Pittsburgh, Pa 15219.


       7.      Defendant Michael Baker is an individual formerly employed as the Manager of
Morgue Operations at the Office of the Medical Examiner of Allegheny County, currently
employed in Indiana County.


       8.      Defendant Stephen Pilarski is an individual currently employed by Defendant
Allegheny County as Deputy County Manager and as such is a policy maker who previously
served as the chief Administrator of the Office of the Medical Examiner of Allegheny County;
Defendant Pilarski currently has offices at the Allegheny County Courthouse, 436 Grant Street,
Pittsburgh, Pa. 15219.

                                       Factual Background


       9.      The individual defendants engaged in the conduct described herein while acting
under color of law.


       10.      At all times material and relevant to the matters set forth herein, the individual
defendants were acting within the scope of their employment and for the benefit of their

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employer, Allegheny County of Pennsylvania and were acting under color of law when they took
the actions they did against Plaintiff as set forth herein.


          11.       At all times relevant and material to this Complaint, Defendant Allegheny County
knew of the facts, incidents, statements and events set forth herein.


          12.      Despite its knowledge of the facts, incidents, statements and events set forth
herein, Defendant Allegheny County failed to investigate, remedy and prevent the gender-based
hostile work environment at the Office of the Medical Examiner.


          13.      Allegheny County hired Plaintiff Kelly Vay as a forensic investigator in the
Office of the Medical Examiner on or about March 15, 2009.


          14.      In addition to their purposeful, personal individual participation and affirmative
conduct in the First Amendment retaliation, the individual Defendants acquiesced in the
unlawful First Amendment retaliatory conduct of others about whose illegal conduct they had
actual knowledge, and over whom they had actual supervisory authority.


          15.      The Defendants herein have acted with reckless or callous disregard of, or
indifference to the rights and safety of Plaintiff Kelly Vay and other female forensic investigators.


          16.     Plaintiff incorporates the matters pleaded at ¶¶ 1 through 16 as if fully set forth
herein.

          17.      On or about August 1, 2013, Plaintiff and other female forensic investigators
drafted and mailed a letter to Allegheny County Executive Rich Fitzgerald outlining matters of
public concern they had in their capacity as citizens (and not solely as employees) of matters
which would be of concern to the public at large including the citizens of Allegheny County
related to, among other matters, the failure of the Medical Examiner’s Office to do autopsies of
certain kinds of cases, and that the M.E. office would sometimes issue a death certificate when the
body of the deceased was still in a hospital and had never been sent to the M.E. office, and other
matters of public concern.
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         18.     The letter had also been sent to the Pittsburgh Tribune Review which published an
article at 12:01 AM on August 3, 2013.

       19.      At 7:27 a.m on August 3, 2013, Allegheny County Manager William McKain sent
an email to Stephen Pilarski, Dr Karl Williams, Medical Examiner, and managers of the
Allegheny County medical examiner’s office including Robert Huston, Director.

       20.      Allegheny County Manager William McKain had a meeting within a day of two of
the August 3, 2013 article with Dr Williams, Stephen Pilarski, Robert Huston and others
regarding the article in the Pittsburgh Tribune Review on August 3, 2013.

        21.   Robert Huston sent an email to the staff of the M.E. Office on August 9, 2013
about the August 1, 2013 letter to Fitzgerald.

         22.     Allegheny County Manager William McKain had a meeting on August 9, 2013
with Dr Williams, Stephen Pilarski, Robert Huston, Michael Baker and others regarding the
article in the Pittsburgh Tribune Review on August 3, 2013.

        23.    On August 9, 2013, Michael Baker , M.E. Manager of Operations met with
Plaintiff Vay and Melissa Bogoevski about the August 1, 2013 letter to the County Executive and
the August 9, 2013 article.

       24.     A difference of opinion arose between Michael Baker and Plaintiff about the letter
and the Pittsburgh Tribune Review newspaper article on August 9, 2013.

      25.    Vay was suspended for 26 days as a result of the August 9, 2013 meeting between
Vay and Baker.




       26.     Defendants Baker and Huston consulted with each other and other County
management officials including County Manager McKain before suspending Vay for 26 days
regarding the August 9, 2013 incident.

       27.     A substantial and or motivating factor of each of the Defendants in causing the
suspension of Vay growing out of the incident on August 9, 2013 was retaliation against Vay
because of the newspaper article of August 3, 2013.

       28.     The Defendants retaliated against Vay because of her protected activity under the

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First Amendment.

        29.    The Defendants exhibited a reckless disregard of the Constitutional rights of
Plaintiff Vay because of her known involvement in writing the letter and causing the publication
of the opinions in the letter and the newspaper article of early August 2013.

         30.    Individual Defendants acted under color of law in violating Vay’s First
Amendment rights when they suspended her for 20 + days on August 20, 2013 because of the
letter to the County Executive and the newspaper article of August 3, 2013.

       31.     Defendant Allegheny County violated Vay’s First Amendment rights because of
the conduct of Allegheny County’s management officials who are policy makers and who violated
Vay’s First Amendment rights.

                                           Injuries To Plaintiff

       32.   As a direct and proximate result of the above actions by the individual Defendants
and by Defendant Allegheny County, Plaintiff suffered the following injuries:

                  a) emotional distress;

                  b) humiliation;

                  c) damage to professional reputation and advancement;

                  d) interference with her immediate and extended family relationships;

                  e) constructive discharge;

                  f) loss of wages and benefits.

                                        CAUSES OF ACTION

                                               Count One
                                     Kelly Vay v Allegheny County
                                      First Amendment Retaliation.
          33.     Plaintiff incorporates the matters pleaded at ¶¶ 1 through 32 as if fully set forth
herein.

      WHEREFORE, Plaintiff demands judgment against the Defendant Allegheny County for

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violation of her First Amendment Rights under the U.S. Constitution as follows:

        a      Award Plaintiff monetary damages for lost pay, front pay and loss of contributions
to her pension plus interest;

          b       Award Plaintiff compensatory damages in an amount to be proven at trial;

      c           Award Plaintiff a reasonable attorney fee award and costs to be paid by the
Defendant;

          d       Grant such other equitable and legal relief as may be just and proper



                                       Counts Two Through Six
                    Kelly Vay v. William McKain, Carl Williams, Stephen Pilarski,
                                   Robert Huston and Michael Baker
                           Retaliation - First Amendment, U.S. Constitution


          34.     Plaintiff incorporates the matters pleaded at ¶¶ 1 through 33 as if fully set forth
herein.

         35.    Individual Defendants acted under color of law in violating Vay’s First
Amendment rights when they suspended her for 20 + days on August 20, 2013 because of the
letter to the County Executive and the newspaper article of August 3, 2013.

        WHEREFORE, Plaintiff demands judgment against each of the individual Defendants
for violation of her First Amendment Rights under the U.S. Constitution as follows:

          a.       Award Plaintiff monetary damages for lost pay, front pay and loss of
                  contributions to her pension plus interest;

       b         Award Plaintiff compensatory damages and punitive damages in an amount to be
proven at trial;

      c           Award Plaintiff a reasonable attorney fee award and costs to be paid by the
Defendant;

          d       Grant such other equitable and legal relief as may be just and proper

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Respectfully submitted,

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